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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

AMERICAN AIRLINES, INC., and                       §
AADVANTAGE LOYALTY IP LTD.                         §
                                                   §
          Plaintiffs,                              §
v.                                                 §         Civil Action No. 4:22-cv-00044-P
                                                   §
RED VENTURES LLC and THE POINTS                    §
GUY LLC,                                           §
                                                   §
          Defendants.                              §
______________________________________________________________________________

                          RULE 26(a)(1) DISCLOSURES
______________________________________________________________________________

          Defendants Red Ventures, LLC (“RV”) and The Points Guy (“TPG,” and together with

RV, “Defendants”) provide the following information pursuant to Rule 26(a)(1) of the Federal

Rules of Civil Procedure. Defendants reserve the right to supplement or amend these disclosures

as permitted by the Federal Rules of Civil Procedure as discovery and investigation into the factual

basis for Plaintiffs’ claims continues.

     I.   Rule 26(a)(1)(A)(i)

          Provide the name and if known, the address and telephone number of each individual
          likely to have discoverable information—along with the subjects of that information—
          that the disclosing party may use to support its claims or defenses, unless the use would
          be solely for impeachment.

        To Defendants’ knowledge, the following individuals are likely to have discoverable
information and knowledge of the facts and circumstances surrounding the incidents that form the
basis for this lawsuit. These individuals can be reached through designated counsel:

          c/o Alex Roberts
          BECK REDDEN LLP
          1221 McKinney Street, Suite 4500
          Houston, Texas
          Telephone: (713) 951-3700
          Facsimile: (713) 951-3720
          aroberts@beckredden.com


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   •   Jack Witty
           - Jack Witty was a Senior Director for the TPG App Team in 2021. He led a
              demonstration of the TPG App for Plaintiffs in February 2021.
   •   Scott Mayerowitz
           - Scott Mayerowitz is the Executive Editor and Senior Director of Content for TPG. He
              attended a demonstration of the TPG App for Plaintiffs in February 2021.
   •   Nathan Richardson
           - Nathan Richardson is an Executive Vice President of Partnerships for TPG and
              attended a teleconference in February 2021 to discuss the TPG App with Plaintiffs’
              representatives.
   •   Richard Kerr
           - Richard Kerr is a Loyalty and Engagement Editor for TPG and attended a
              teleconference in February 2021 to discuss the TPG App with Plaintiffs’
              representatives.
   •   Mitchell Stoutin
           - Mitchell Stoutin is a Senior Director of Engineering and attended a teleconference to
              discuss the TPG App with Plaintiffs’ representatives.

        The following may have knowledge of the facts and circumstances surrounding the incidents
that form the basis for this lawsuit. Their contact information is indicated below:

   •   Emiliano Delucia
          - Emiliano Delucia was the Head of Technology and Engineering for Financial Services
              and was involved in communications with Plaintiffs’ representative regarding the TPG
              App.
          - Current contact information unknown. Will supplement.
   •   Zach Bartholomew
          - Zach Bartholomew was the Director of Product Management for TPG and attended
              the February 2021 teleconference and demonstration of the TPG App for Plaintiffs.
          - Current contact information unknown. Will supplement.

        To Defendants’ knowledge, the following individuals are all employees of Plaintiffs and likely
to have discoverable information and knowledge of the facts and circumstances surrounding the
incidents that form the basis for this lawsuit. They can be reached through their designated counsel:

       c/o Dee J. Kelly, Jr.
       KELLY HART & HALLMAN LLP
       201 Main Street, Suite 2500
       Fort Worth, Texas 76102
       (817) 332-2500
       dee.kelly@kellyhart.com

   •   Scott Chandler
          - Scott Chandler is the Vice President for Revenue Management for Plaintiff American
              Airlines, Inc. He has filed a declaration based on his personal knowledge related to
              this matter.
   •   Heather Samp
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          -    Heather Samp is the Managing Director of AAdvantage Member Engagement. She
               has filed a declaration based on her personal knowledge related to this matter.
   •   Vasu Raja
          - Vasu Raja is the Chief Commercial Officer for Plaintiff American Airlines, Inc. He
               has filed a declaration based on his personal knowledge related to this matter.
   •   Eddie Armenta
          - Eddie Armenta is a Product Technical Lead employed by Plaintiffs and attend a
               teleconference in February 2021 with representatives of Defendants.
   •   Chris Isaac
          - Chris Isaac is the Director of Loyalty Program Delivery for Plaintiff American
               Airlines, Inc. and was invited to a demonstration of the TPG App in February 2021.
   •   Meghan Jordan
          - Meghan Jordan is the Director of Customer Insights for Plaintiff American Airlines,
               Inc. and was invited to a demonstration of the TPG App in February 2021.
   •   Lori Sinn
          - Lori Sinn is the Director and Head of AAdvantage Global Cobrand Credit Card
               Partnerships for Plaintiff American Airlines, Inc. and was invited to a demonstration
               of the TPG App in February 2021.
   •   Russell Hubbard
          - Russell Hubbard is a Vice President and Deputy General Counsel for Plaintiffs.
   •   Sandra Jacobs
          - Sandra Jacobs is a Director for Loyalty and Marketing Technology for Plaintiffs and
               was involved in communications with Defendants in September 2021.
   •   Venkateswaran Krishnamoorthy
          - Venkateswaran Krishnamoorthy is the Principal Application Architect for Plaintiffs
               and was involved in communications with Defendants in September 2021.
   •   Megan Goodmansen
          - Megan Goodmansen is a Senior Security Analyst for Plaintiffs and was involved in
               communications with Defendants in September 2021.

        The following individual is no longer Plaintiffs’ employee. This individual may have
knowledge of the facts and circumstances surrounding the incidents that form the basis for this
lawsuit:

   •   Rick Elieson
          - Rick Elieson was the Vice President of Customer Loyalty and Insights and was the
              President of the AAdvantage Loyalty Program for Plaintiff American Airlines, Inc.
              He was invited to a demonstration of the TPG App in February 2021.
          - His contact information is currently unknown.

 II.   Rule 26(a)(1)(A)(ii)

       Provide a copy—or a description by category and location—of all documents,
       electronically stored information, and tangible things that the disclosing party has in its
       possession, custody, or control and may use to support its claims or defenses, unless the
       uses would be solely for impeachment.

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        Relevant documents and electronically stored information in this case will include, but is not
limited to:

    •   Documents and communications sent between and among the employees of Plaintiffs and
        Defendants regarding, but not limited to, the TPG App.

    •   The TPG App’s interface that consumers use to input their information and to view their
        rewards points.

    •   The TPG App’s interface that displays any mark or emblem that is associated with Plaintiffs.

    •   Documents, communications, and electronically stored information related to the method by
        which consumers access their data from AA.com and/or the AAdvantage Program and share
        this data with Defendants.

    •   Documents, communications, and electronically stored information related to the security and
        protections used to safeguard consumers’ information.

III.    Rule 26(a)(1)(A)(iii)

        Provide a computation of each category of damages claimed by the disclosing party—
        who must also make available for inspection and copying as under Rule 34 the
        documents or other evidentiary material, unless privileged or protected from disclosure
        on which each computation is based including materials bearing on the nature and
        extent of injuries suffered.

      The Defendants are not currently claiming any damages in connection with this matter. The
Defendants will update this response as appropriate as this matter progresses.

 IV.    Rule 26(a)(1)(A)(iv)

        Provide for inspection and copying under Rule 34, any insurance agreement under
        which an insurance business may be liable to satisfy all or part of a possible judgment in
        the action or to indemnify or reimburse for payments made to satisfy the judgment.

        Not applicable.




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Dated: May 23, 2022                   Respectfully submitted,

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                                       /s/ Alex Roberts                             .
                                       David J. Beck (State Bar No. 00000070)
                                       Alex B. Roberts (State Bar No. 24056216)
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                                      ATTORNEYS FOR DEFENDANTS
                                      RED VENTURES, LLC AND
                                      THE POINTS GUY, LLC




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                                 CERTIFICATE OF SERVICE

       On May 23, 2022, I electronically submitted the foregoing document with the Clerk of
Court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the Court. I hereby certify that I have served all counsel of record electronically or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                          /s/ Alex Roberts
                                                            Alex Roberts.




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